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                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE WESTERN DISTRICT OF TEXAS
                                     AUSTIN DIVISION


WENDY DAVIS, DAVID GINS, and       §
TIMOTHY HOLLOWAY,                  §
                                   §
           Plaintiffs,             §
                                   §
v.                                 §                                       1:21-CV-565-RP
                                   §
ELIAZAR CISNEROS, RANDI CEH, STEVE §
CEH, JOEYLYNN MESAROS, ROBERT      §
MESAROS, and DOLORES PARK,         §
                                   §
           Defendants.             §

                                                 ORDER

        Before the Court is Plaintiffs’ motion for Rule 37 sanctions against Defendants Eliazar

Cisneros, Randi Ceh, and Steve Ceh. (Dkt. 448). Also before the Court is Cisneros’s motion for

leave to file pretrial filings and motions in limine. (Dkt. 457). Both motions were considered at the

final pretrial conference held on August 5, 2024. (Min. Entry, Dkt. 461).

        For the reasons stated on the record at final pretrial conference, Cisneros’s motion for leave

to file pretrial filings and motions in limine is granted. Cisneros’s pretrial filings, (Dkt. 441), and

motion in limine, (Dkt. 443), are properly before the Court. Accordingly, Plaintiffs’ request for

sanctions against Cisneros due to his untimely filings is denied.

        However, in their motion for sanctions, Plaintiffs also request that the Court find that

Cisneros has waived all objections to Plaintiffs’ pretrial filings. (Dkt. 448, at 3). Cisneros’s deadline

to file any response or objections to Plaintiffs’ pretrial filings passed on July 29, 2024. See Local Rule

CV-16(g). To date, Cisneros has not filed any responses to Plaintiffs’ pretrial filings, nor has he

moved the Court for an extension of time. Accordingly, the Court finds, pursuant to Federal Rule of




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Civil Procedure 26(a)(3)(B), that Cisneros has waived all objections to Plaintiffs’ pretrial filings,

except for those made under Federal Rules of Evidence 402 and 403.

        At the final pretrial conference, Plaintiffs requested more time to respond to Cisneros’s

pretrial filings because he filed them late. Cisneros noted that he was not opposed to such an

extension of time. (Min. Entry, Dkt. 461). Accordingly, the Court will extend Plaintiffs’ deadline to

respond to Cisneros’s pretrial filings.

        Plaintiffs also move for sanctions against Defendants Randi Ceh and Steve Ceh (the “Ceh

Defendants”). As mentioned at the final pretrial conference, the Court orders the Ceh Defendants

to submit any pretrial filings at least three weeks before trial. The Court cautions the Ceh

Defendants that if they fail to abide by this deadline, the Court may find that they have waived their

opportunity to affirmatively put on evidence and witnesses at trial. Further, because the Ceh

Defendants have not timely filed their responses to Plaintiffs’ pretrial filings, the Court finds,

pursuant to Federal Rule of Civil Procedure 26(a)(3)(B), that the Ceh Defendants have waived all

objections to Plaintiffs’ pretrial filings, except for those made under Federal Rules of Evidence 402

and 403.

        For these reasons, IT IS ORDERED that Cisneros’s motion for leave to file pretrial filings

and motions in limine, (Dkt. 457), is GRANTED.

        IT IS FURTHER ORDERED that Plaintiffs’ motion for Rule 37 sanctions against

Cisneros and the Ceh Defendants, (Dkt. 448), is GRANTED IN PART AND DENIED IN

PART, in accordance with this order and the Court’s findings during the final pretrial conference.

        IT IS FURTHER ORDERED that Plaintiffs shall file their responses to Cisneros’s

pretrial filings on or before August 12, 2024.




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       IT IS FINALLY ORDERED that the Ceh Defendants shall file their pretrial filings on or

before August 19, 2024.

       SIGNED on August 12, 2024.


                                                 ________________________________
                                                 ROBERT PITMAN
                                                 UNITED STATES DISTRICT JUDGE




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